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                                                     March 20, 2024


SENT VIA EMAIL

Rod Rosenstein
King & Spalding LLP
1700 Pennsylvania Ave NW
Washington, DC 20006
rrosenstein@kslaw.com

    Re: Request Number: LITG-2024-000007/Battle Born Investments v DOJ, 24cv67 (D.D.C.)
    Subject of Request: Documents that Reveal the Identity of "Individual X"
                        USA v. Approx. 69,370 Bitcoin, et al., 3:20-cv-7811-RS (N.D. Cal.)

Dear Rod Rosenstein:

         Your request for records under the Freedom of Information Act/Privacy Act has been
processed. This letter constitutes a reply from the Executive Office for United States Attorneys, the
official record-keeper for all records located in this office and the various United States Attorneys’
Office.

       To provide you with the greatest degree of access authorized by the Freedom of Information
Act and the Privacy Act, we have considered your request in light of the provisions of both statutes.

        The records you seek are located in a Privacy Act system of records that, in accordance with
regulations promulgated by the Attorney General, is exempt from the access provisions of the
Privacy Act. 28 CFR § 16.81. We have also processed your request under the Freedom of
Information Act and are making all records required to be released, or considered appropriate for
release as a matter of discretion, available to you. This letter is a full denial.

        After carefully reviewing your request, I have determined that all of the potentially
responsive records to your request are exempt from disclosure pursuant to: 5 U.S.C. § 552(b)(7)(A),
which concerns records or information compiled for law enforcement purposes the release of which
could reasonably be expected to interfere with enforcement proceedings; and 5 U.S.C. § 552(b)(3),
which concerns matters specifically exempted from release by statute (in this instance, the Federal
Rules of Criminal Procedure, Rule 6e, which pertains to records that would reveal some secret
aspect pertaining to grand jury proceedings); and 5 U.S.C. § 552(b)(6), which concerns material the
release of which would constitute a clearly unwarranted invasion of the personal privacy of third
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parties; and 5 U.S.C. § 552(b)(7)(C), which concerns records or information compiled for law
enforcement purposes the release of which could reasonably be expected to constitute an
unwarranted invasion of the personal privacy of third parties.

       EOUSA reserves the right to later assert any additional FOIA exemptions that may be
applicable to the requested records.

      Because this matter is in litigation, we are foregoing our standard appeals paragraphs. Should
you have any questions, please contact AUSA Sam Escher.



                                                           Sincerely,


                                                           Kevin Krebs
                                                           Assistant Director
